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Toshiba America Information Systems, Inc.,
Toshiba America Consumer Products, L.L.C.,

and Toshiba America Electronic Components, Inc.

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)
IN RE: CATHODE RAY TUBE (CRT) . _ Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917
This Document Relates to: [PROPOSED] ORDER GRANTING
APPLICATION FOR ADMISSION OF
ALL ACTIONS ATTORNEY PRO HAC VICE

Upon consideration of the Application for Admission of Attorney Pro Hac Vice filed
by Matthew Frutig, whose business address and telephone number is White & Case LLP,
701 Thirteenth Street, N.W., Washington, DC 20005, (202) 626-3600, and who is an
active member in good standing of the bar of the District of Columbia, having applied in
the above-entitled action for admission to practice in the United States District Court for

the Northern District of California on a pro hac vice basis, representing Defendants

[PROPOSED] ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE
Case No. 07-5944 SC
MDL No. 1917

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Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba America
Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc.;

IT IS HEREBY ORDERED that the application is granted, subject to the terms and
conditions of Rule 11-3 of the Local Rules of Practice in Civil Proceedings before the
United States District Court for the Northern District of California. All papers filed by the
attorney must indicate appearance pro hac vice. Service of papers upon and
communication with co-counse] designated in the application will constitute notice to the
party. All future filings in this action are subject to the requirements contained in General

Order No. 45, Electronic Case Filing.

Dated: , 2012

Samuel Conti, United States District Judge

[PROPOSED] ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE
Case No. 07-5944 SC
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